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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
In the Matter of the                            )
Federal Bureau of Prisons’ Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane, et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
ALL CASES                                       )
                                                )

                                 MEMORANDUM OPINION

        Before the court is Plaintiff Keith Nelson’s Emergency Motion for Entry of Partial Final

Judgment. (ECF No. 196.) Given the court’s August 15, 2020 order (ECF No. 193; see also

ECF Nos. 135, 136), dismissing Count II (Eighth Amendment) of the Amended Complaint as to

all Plaintiffs except Norris Holder, 1 Nelson asks the court to enter judgment in his case as to

Count II. Recognizing that the court’s dismissal applies to all plaintiffs except Holder, the

Defendants consent to the motion insofar as the court enters final judgment on Count II as to the

remaining Plaintiffs. (See ECF No. 198.)

        In light of the Government’s position, this court issued a show cause order, (8/18/2020

Min. Order), directing all Plaintiffs, with the exception of Holder, to file any objection by 5:00

p.m. on August 19, 2020, to entry of final judgment in their cases. Several plaintiffs filed notices

indicating they did not object, (see ECF Nos. 202, 203), but no objections were filed.




1
 Holder has epilepsy and is taking medication he alleges will “affect the way he metabolizes
pentobarbital,” (ECF No. 186, Holder Suppl. Br. at 3). Therefore, his Eighth Amendment
challenge to the execution protocol is unlike that of the remaining Plaintiffs.
                                                    1
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       In the absence of any objection and because the court finds there is no just reason to

delay entry of judgment, see Fed. R. Civ. P. 54(b), by separate order the court will grant

Nelson’s motion, (ECF No. 196), except that the court will enter judgment as to the Eighth

Amendment claims brought by all plaintiffs, excluding Holder.



Date: August 20, 2020


                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




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